Case 1:19-cv-09439-PKC Document 72-23 Filed 01/15/20 Page 1 of 5




          Exhibit JX20
         Case 1:19-cv-09439-PKC Document 72-23 Filed 01/15/20 Page 2 of 5




                                TON Development Status
                 Overall progress towards the test version: 70%


                                              September 5, 2018




         1. TON Virtual Machine (TVM)
          TON VM or TVM is the component required for executing smart contracts
          in the TON Blockchain.

          ✓ Implementation: 95% complete
          TVM is fully implemented and internally tested. Minor modifications are
          likely to be necessary during the process of binding TVM with the TON
          Blockchain block generation and validation software.
              In addition to TVM itself, a database required for storing on disk and
          accessing large amounts of TVM data (e.g., smart-contract code and data,
          old blocks, blockchain state) without loading all of it into memory has been
          developed.

          ✓ Documentation: 95% complete
          The current version of TVM is fully described in Telegram Open Network
          Virtual Machine (September 5, 2018). Minor modifications to the imple-
          mentation may require corresponding changes in the documentation.




                                                               1




FOIA Confidential Treatment Requested by Telegram Group Inc.                     TG-006-00000017
         Case 1:19-cv-09439-PKC Document 72-23 Filed 01/15/20 Page 3 of 5




          2. TON Network
          TON Network is the component required for delivering requests (e.g., pro-
          posed transactions) and propagating newly-generated TON Blockchain blocks
          through the network.

          ✓ ADNL (low-level overlay network protocol running over IP networks):
          80% complete
          All functionality required for the test version is complete, including ellip-
          tic curve cryptography and the node lookup protocol. Some sophisticated
          options and additional cryptographic options that are not required for the
          launch of the test version will be implemented later prior to final launch.

          ✓ Overlay networks over ADNL: 100% complete
          Overlay networks are required to build node groups inside the ADNL net-
          works. For instance, the validators for a shardchain create their separate
          overlay network to propagate new block candidates and run a Byzantine
          Fault Tolerant (BFT) consensus protocol.

          ✓ Broadcast protocols for overlay networks over ADNL: 100% complete
          Simple broadcast protocols are used inside overlay networks to propagate
          small messages, such as the BFT consensus protocol messages, to all members
          of an overlay network. These protocols are required for the implementation
          of validator BFT consensus.

          ✓ CATCHAIN protocol: 90% complete
          The CATCHAIN protocol is a variant of broadcast protocols tailored for im-
          plementing BFT consensus protocols and for solving similar group consensus
          tasks in a closed membership overlay network. As such, it is the first step in
          implementing the validator BFT consensus protocol.

          ✓ Streaming broadcast protocols: 95% complete
          Streaming broadcast protocols are used to quickly propagate large amounts
          of data, such as newly-generated TON Blockchain blocks (to all full nodes)
          and block candidates (to the validators of the corresponding shardchain).
          They use Forward Error Correction (FEC) protocols as their component.



                                                               2




FOIA Confidential Treatment Requested by Telegram Group Inc.                      TG-006-00000018
         Case 1:19-cv-09439-PKC Document 72-23 Filed 01/15/20 Page 4 of 5




          3. TON Blockchain Block Generation and Validation
          The block generation and validation software relies heavily on TVM and
          TON Network to create new block candidates, validate them between the
          validators, and propagate the signed blocks to all full nodes. Since the work
          on the TVM and TON Network components listed above is largely completed,
          the TON Blockchain is now in active development.
          ✓ Documentation: 90% complete
          The documentation is intended to present a complete description of the mas-
          terchain and shardchain block format in the TON Blockchain. Currently,
          we believe that the shardchain blocks are fully described in Telegram Open
          Network Blockchain (September 5, 2018). Some details of the masterchain
          blocks, such as the list of all configurable parameters with their respec-
          tive types, are not fully documented at this time because they are likely
          to be modified during the final development of the test version of the TON
          Blockchain.
          D. Block manipulation library: 30% complete
          The block manipulation library is intended to store entire blocks and their
          parts in files, load these data into memory, and access or modify different
          data structures present in a block. Most of the preparatory work has been
          accomplished, and this component is currently being implemented in our
          internal test version.
             Validator software: 10% complete
          Validator software uses the block manipulation library to generate block can-
          didates, validate block candidates proposed by other validators, and achieve
          consensus on the next block in a shardchain or the masterchain. We have
          developed general, preliminary descriptions of this software. The validator
          software code will be written once the block manipulation library is com-
          pleted.
          D Smart contract development, test, and debug environment: 50% com-
          plete
          A test and debug environment for smart contracts is already implemented
          and internally tested, along with a low-level "TVM assembly" smart-contract
          language. The compiler from a high-level smart-contract language is 20%
          complete.

                                                               3




FOIA Confidential Treatment Requested by Telegram Group Inc.                      TG-006-00000019
         Case 1:19-cv-09439-PKC Document 72-23 Filed 01/15/20 Page 5 of 5




          i> Fundamental and sample smart contracts: 10% complete
          Some sample smart contracts are prepared in "TVM assembly". The imple-
          mentation of fundamental smart contracts—which reside in the masterchain
          and run crucial tasks such as electing new validators and changing config-
          urable parameters—requires the availability of the high-level smart-contract
          compilers and development tools discussed above. Active development of
          these smart contacts will begin immediately once the requisite compilers and
          development tools are in place.




                                                               4




FOIA Confidential Treatment Requested by Telegram Group Inc.                     TG-006-00000020
